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                                                                                 9 5/6/2021    2:48 PM
                                                                                         Craig Harrison
                                                                                     Combination Clerk
                                                                                    Kent County, Texas



                               Cause No. -
                                         1820
                                           -- . -----

CLINT LONG, INDIVIDUALLY, AND                     §     IN THE DISTRICT COURT
N/F OF C.L.                                       §
  Plaintiff,                                      §
                                                  §
v.                                                §
                                                  §     39thJlIDICIAL DISTRICT
JAYTON-GIRARD INDEPENDENT                         §
SCHOOL DISTRICT, and JOHNNY TUB,                  §
in his official capacity as                       §
SUPERINTENDENT OF JAYTON-                         §
GIRARD INDEPENDENT SCHOOL                         §
DISTRICT, and LYLE LACKEY,                        §       KENT COUNTY, TEXAS
    Defendants.                                   §

        PLAINTIFFS' ORIGINAL PETITION and APPLICATION FOR
         TEMPORARY RESTRAINING ORDER AND INJUNCTION

        COMES NOW Clint Long ("Long"), individually and as next friend of C.L.,

a minor (collectively "Plaintiffs"), to complain of Jayton-Girard ISD ("JGISD")

and Johnny Tub ("Tub"), JGISD's superintendent (collectively "Defendants").

        SHORT STATEMENT: C.L. has been excluded from attending in-person

instruction in Jayton-Girard ISD because he refuses to comply with JGISD's mask

policy, a policy adopted through an opaque process via a secret committee

composed of unknown persons appointed in secret, with a secret schedule, secret

agenda, and without published minutes, all in violation of the Texas Open

Meetings Act. Because the mask policy was created by an illegal procedure, lacks

a published scientific basis, and fails to properly weigh and account for risk to

students, Plaintiffs ask it be declared unenforceable and void.
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                            I.    DISCOVERY CONTROL PLAN

1.      Plaintiff intends to conduct discovery in this cause under Level 3 of Rule

190 of the Texas Rules of Civil Procedure.

                      II.        RULE 47 STATEMENT OF RELIEF

2.      The damages sought herein are within the court's jurisdictional limits.

3.      Plaintiff seeks monetary relief of $100,000 or less and a demand for

judgment for all the other relief to which the Plaintiffs deem themselves entitled.

                                       HI.      PARTIES

4.      Plaintiff Clint Long is a resident of Kent County and may be contacted

through his attorney of record, the undersigned; Clint Long is also acting as next

friend for minor C.L.

5.      Plaintiff C.L. is a minor resident of Kent County and may be contacted

through his attorney of record, the undersigned.

6.      Defendant Jayton-Girard ISD is an Independent School District in Kent

County, and may be served through its Superintendent, Johnny Tub, at Jayton-

Girard ISD's main office, 700 Madison Ave, PO Box 168, Jayton, TX 79528.

7.      Defendant Johnny Tub is a resident of Kent County sued in his official

capacity and may be served at JGISD's main office, 700 Madison Ave, Jayton, TX

79528, or wherever he may be found.




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 8.      Defendant Lyle Lackey, a JGISD official and resident of Kent County, may

be served at JGISD's main office, 700 Madison Ave, Jayton, TX 79528, his home,

801 Clairemont, Jayton, TX 79528, or wherever he may be found. Lackey issued in

his individual capacity as an ultra vi res actor.

                            IV.    JURISDICTION & VENUE

9.      The subject matter, claims, and damages sought in this case are within this

Court's jurisdiction.

10.     Venue in Kent County is proper under TEX. CIV. PRAC. REM CODE§ 15.002

et seq. as a substantial part, of the events - or omissions giving rise to the claim -

occurred in Kent County. Additionally, Plaintiffs reside in Kent County.

                           V.      FACTUAL BACKGROUND

A. Jayton-Girard ISD developed a mask policy in secret.

11.     Jayton-Girard ISD ("JGISD") is a public school district with an enrollment

of fewer than 200 students, serving Kent County, Texas.

12.     On March 2, 2021, Gov. Abbott ("Abbott") issued executive order GA-34

which, among other things, states: "[t]here are no COVID-19 related operating

limits for any business or other establishment", and "no person may be required by

any jurisdiction to wear or to mandate the wearing of a face covering." Exhibit 5.

13.     GA-34 rescinded executive order GA-29 which required that all Texans

wear face coverings in public, though the order included exceptions. Ex. 5 and 6.


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 14.    On June 18, 2020, Jayton-Girard ISD school board minutes indicate that the

JGISD board members discussed COVID-19 protocol, but do not mention any

further action or creation of any committees to develop any mask policies or the

school's reopening. Exh. 1.

15.     On July 17, 2020, Defendant sent a text message to all parents, with children

enrolled in the Jayton-Girard ISD. Exh 2. The text included an attachment labeled,

"JGISD 2020-2021 Reopening Plan ('Plan')". Exh. 2a.

16.     Neither the process, nor the parties responsible for the creation of the plan,

were specified anywhere in the Plan. Exh 2.

17.     The Plan was not published anywhere on the Jayton-Girard ISD website, and

remains unpublished to the present time. Exh 3.

18.    No policy based on the Plan was submitted for parents to sign. Exh 2.

19.    Jayton-Girard ISD reopened its school on August 13, 2020. Exh 2.

20.    The Plan includes detailed provisions regarding face coverings:
           •   Faculty, staff, arid students are required to wear a face covering when entering
               and exiting the building, and during passing periods.

                  o   PK-2nd grade will be required to wear a face covering when entering or exiting
                      the building. Once in the classroom a face shield provided by the district will be
                      worn during instruction time. Neck gaiters provided by the district will be worn
                      during recess and PE time when students are in close contact.

                  o   3rd-12th grade will be allowed to wear their own choice of face covering when
                      entering or exiting the building, in the classroom, and during the passing periods.
                      Neck gaiters provided by the district will be worn during recess, PE time, and
                      athletics when students are in close contact. Students may be asked by their
                      teachers at times to wear a face shield instead of a mask for educational
                      numoses.


Exh. 2a.
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21.       The GTISD requirement for a face covermg does not come with a

specification of what constitutes an acceptable face covermg. Based on the

observations by Plaintiffs, acceptable face coverings include sheer material

providing no substantive barrier to COVID-19-laden breath. Nor does the policy

even require that the face covering be clean or occasionally washed.

22.       The Plan also includes a number of exemptions to the general mask

mandate, including:
      •   We don't intend for the students to wear a face covering for the entire duration of
          a school day and faculty and staff will be looking for every opportunity to reduce
          the use of face coverings when other mitigating strategies can be met.

          For example:

             o   Face coverings are NOT required to be worn in the classroom when 6ft of social
                 distancing is available. (teacher discretion)

             o   Face coverings are NOT required when students are outside and are able to
                 maintain 6ft of social distancing. (teacher & coach discretion)

             o   Face coverings are NOT required when eating breakfast & lunch.

Exh. 2a.

23.       The Plan includes no exemptions based on disability, religion, or conscience.

24.       The Plan does specify that the mask policies are subject to revision based on

CDC, state, and local recommendations:
  Our first priority is the safety of our students, employees, families, and surrounding
  community, and we strive to make the most responsible decisions to facilitate a safe
  environment for all. We would also like to emphasize that because of the fluid nature of
  this pandemic, CDC, state and local authority recommendations and mandates may be
  different on the first day of school than they are at the time of distribution of this
  information. We will adjust accordingly.

Exh. 2a.

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25.     On March 10, 2021, the Jayton-Girard ISD schoolboard considered a motion

to continue current COVID-19 procedures that are in place. Exh 3.

26.     In March of 2021, the names of the committee members who authored the

Plan were released to some parents, but not published anywhere on the Jayton-

Girard ISD website or the public. Exh 2.

27.     The process by which the committee drafted the Plan remains unknown.

Membership criteria regarding the committee remains opaque. Exh 2.

28.     On March 11, 2021, Clint Long took C.L., to Jayton-Girard ISD, but was

prevented from entering by school official Lyle Lackey ("Lackey"). Exh 2.

29.    Long and Lackey exchanged greetings, but Lackey refused to allow Long

and C.L. to go into the school without a mask. Exh 2.

30.    Long then inquired about religious exemptions, to which Lackey replied

with an assertion that religious exemptions only apply to immunization. Exh 2.

31.    Ultimately, Plaintiff C.L. has been denied access to Jayton-Girard ISD,

during the Spring 2021 term, due to his objection to mask wearing on religious and

conscience grounds. Exh. 2.

32.    The JGISD, through its agents, has cited the mask policy as the grounds for

C.L. 's exclusion. Exh. 2b.         Those refusing to wear a face covering must be

banished to "virtual learning" - a system whereby students are confined to their




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 homes, separated from their peers, and their parents are compelled to leave their

jobs if they want their children to have any semblance of public education.

33.     On April 20, 2021, the Jayton-Girard ISD schoolboard, for the first time in

its minutes, acknowledged the existence of the secret COVID-19 reopening

committee and adopted its recommendations. Exh 7.

B. COVID-19 transmission and health outcomes in children.

34.     Defendants assume that no substantial costs result from mask requirements.

However, compelling data suggests that Defendants' Pollyanna view of masking

children borders on the Panglossian, as evidence mounts that school mask policies

entail serious long-term consequences for vulnerable students' futures.

35.    In developing mask policies, decision-makers face three obvious questions

in assessing the weight of evidence in favor of masking children:

       a. First, how transmissible is COVID-19 among students?
       b. Second, how transmissible is COVID-19 between students and teachers?
       c. Third, how dangerous is COVID-19 to children?

36.    Answers to these questions are available thanks to teachers and school

administrators across the nation working with the Nat'l Association of Elementary

Schools and the Nat'l Association of Secondary School Principals, and data




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    scientists at the technology company Qualtrics, who have assessed the impact of

    COVID-19 and public policy responses to children in school environments. 1

    37.   Economics Professor Emily Oster2 at Brown University's Watson Institute,

 leads Qualtrics' National COVID-19 School Response Dashboard. In that position,

she oversees the data collection regarding school children and COVID-19

infection, and helps ensure accurate transmission of reliable data to the public.

3 8.      Writing for the Atlantic, in October, Professor Oster summarized the

Project's findings during the height of the September second wave last year:

          Our data on almost 200,000 kids in 47 states from the last two weeks
          of September revealed an infection rate of 0.13 percent among
          students and 0.24 percent among staff. That's about 1.3 infections
          over two weeks in a school of 1,000 kids, or 2.2 infections over two
          weeks in a group of 1,000 staff. Even in high-risk areas of the country,
          the student rates were well under half a percent. 3

39.       Oster then opined on the experience o(Texas and its corroboration of

Qualtrics' findings, writing:

          School-based data from other sources show similarly low
          rates. Texas reported 1,490 cases among students for the week ending
          on September 27, with 1,080,317 students estimated at school-a rate
          of about O.14 percent. The staff rate was lower, about O.10 percent. 4

1
  National Covid-19 School Response Dashboard (Apr. 27, 2021 12:01 PM),
https://statslq.co l .qualtrics.com/public-
dashboard/v0/dashboard/5f78e5d4de52 l a00 I 036f78e#/dashboard/5f78e5d4de52 la00 I 036f78e?pageid=Page f607l
bf7-7db4-4a61-942f-ade4cce464de
2
  Emily Oster, Watson Institute International & Public Affairs (April 27, 2021 1:08 PM),
https://watson.brown.edu/people/facultv/oster
3 Emily Oster, Schools Aren't Super-Spreaders, The Atlantic (October 9, 2020),

https ://wwv.1 • theatlanti c.com/i deas/ arch ive/2020/1 0/schoo ls-arent-supersp readers/ 61666 9/.
4 Id.




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 40.      International data further verifies the proposition that student-to-teacher

 COVID-19 transmission is rare. Martin Kulldorff, professor at Harvard Medical

 School summarized the findings of the Swedish Public Health Agency, "[they]

 found that teachers had the same risk of COVID as the average of other

professions", the rate of infection among teachers m Sweden, was identical to

Finland where schools were closed. 5

41.      Regarding the third question asking about the danger posed to children by

COVID-19, the CDC confirms that "[m]ost children with COVID-19 have mild

symptoms or have no symptoms at all." 6 Specifically, the American Academy of

Pediatrics notes that by the end of 2020 more than 2 million children had been

diagnosed with COVID-19, and 172 had died for a case to fatality rate of 0.001 %. 7

By contrast, the CDC reports that last year's notoriously mild flu season resulted in

188 confirmed child fatalities, with the CDC's estimate of actual child fatalities at

closure to 600. 8




5
  Alec MacGillis, The Students Left Behind by Remote Learning, ProPublica (September 28, 2020),
https://www.propublica.org/article/the-students-left-behind-by-rernote-leaming.
6
  COVJD-19 in Children and Teens, Centers for Disease Control (Apr. 27, 2021 11:06 AM),
https ://wwv,.,_ cdc.gov/coronavirus/2019-ncov /daily-life-coping/children/symptoms. htm I
7
  Children and COVID-19: State-Level Data Report, American Academy of Pediactrics (Apr. 27, 202111:07 AM),
https://services.aap.org/en/pages/?0 19-novel-coronavi rus-covid- l 9-infections/children-and-covid-19-state-level-
data-report/
8
  2019-20 Season's Pediatric Flu Deaths Tie High Mark Set During 2017-18 Season, Centers for Disease Control
and the National Center for Immunization and Respiratory Disease (Aug. 21, 2020),
https://ww,v.cdc.gov/flu/spotlights/2019-2020/20 l 9-20-pediatric-flu-
deaths.htm#:-:text=While%20any%20death%20in%20a,num ber%20was%20closer%20to%20600.


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    42.   Furthermore, COVID-19's child fatality rate is tame compared to the

    Spanish flue of 1918 which had a child fatality rate in the 5-14 age group of .0015. 9

    43.   Compared to recent flu seasons and the infamous Spanish flu of 1918,

    children's COVID-19 susceptibility and worst-case scenario outcomes are mild.

    C. Separate and Unequal: The deleterious impact of virtual education.

44.       On the cost side of the ledger, mandatory masking policies and digital

learning policies tied thereto, have costs of their own that must be accounted in

assessing the propriety and rationality of education policy.

45.       A study by the research based not-for-profit NWEA in partnership with

researchers at Brown University and the University of Virginia, concluded that the

average student could begin the current school year having lost as much as a third

of the expected progress from the previous year in reading and half of the expected

progress in math. 10

46.       Compounding this problem, declines in educational attainment from distance

learning are hitting the poorest and most vulnerable students the hardest. Analysis

of the online math program, Zearn, by researchers at Harvard and Brown, found

that transferring students online during the pandemic caused student progress in


9
 Luk, J., Gross, P., Thompson, W., (2001) Observations on Mortality during the 1918 Influenza Pandemic, Clinical
Infectious Diseases, Vol 33, Issue 8, p. 1371-1378 https://academic.oup.com/cid/article/33/8/1375/347461.
°
1 Kuhfeld, M., Soland, J., Tarasawa, B., Johnson, A., Ruzek, E., & Liu, J. (2020). Projecting the potential impacts

of COVID-19 school closures on academic achievement. Educational
Researcher. https://doi.om!l OJ I 02/0013 l 89X209659 l 8.


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 math to decline by nearly half in classrooms located in low-income ZIP codes, and

 by almost a third in classrooms in middle-income ZIP codes, while math progress

declines were negligible in high-income ZIP codes. 11

4 7.     A comprehensive estimate by McKinsey & Company estimates that the

average student has fallen seven months behind academically due to COVID-19,

and black and Hispanic students are likely experiencing even more grievous losses

of academic attainment - nine months for Latinos and ten for black children. 12

48.      Children in rural districts have also been hit disproportionately hard by the

pandemic. The New York Times 13 summarized findings of a report by the Center

for Reinventing Public Education, 14 finding that, "[r]ural students have been

especially cut off from their teachers. Only 27 percent of their districts required

any instruction while schools were closed."

49.     A survey of 5,659 teachers engaged in online learning across the USA, by

the professional networking app Fishbowl, found that among 34% of respondents,




11 Raj Chetty, John N. Friedman, Nathaniel Hendren, Michael Stepner, and the Opportunity Insights Team,

Opportunity Insights Economic Tracker, Harvard University and Brown University (Apr. 27, 202111:19 AM),
https ://tracktherecovery. orn:/.
12
   Emma Dom, Bryan Hancock, Jimmy Sarakatsannis, and Ellen Viruleg, COVID-19 and student learning in the
United States: The hurt could last a lifetime, McKinsey & Company (June 1, 2020),
https://www.mckinsev.com/industries/public-and-social-sector/our-insights/covid-19-and-student-Jearning-in-the-
united-states-the-hurt-could-last-a-lifetime#.
13
   Dana Goldstein, Research Shows Students Falling Months Behind During virus Disruptions, The New York
Times (June 5, 2020), https://www.nytimes.com/2020/06/05/us/coronavirus-education-lost-learning.htrnL
14
   Betheny Gross and Alice Opalka, Too Many Schools Leave Learning to Chance During the Pandemic, Center for
Reinventing Public Eeducation (June 2020), https://v.rww.crpe.org/publications/too-many-schools-leave-learning-
chance-during-pandemic.


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 no more than one in four students were attending remote classes, while most

 respondents disclosed that fewer than half their students were attending. 15

 50.     Researchers at the Massachusetts Institute of Technology's Teaching System

Lab 16 identified three phenomena present in virtual learning that create a negative

feedback loop in education, including:

              a. Student Motivation: Teachers struggled to motivate their students

                  through two layers of computer screens;

              b. Professional Loss and Burnout: As they lost familiar means of

                  teaching, teachers also lost a fundamental sense of their own efficacy

                  and professional identity.

             c. Exacerbated Inequities: The sense of loss grew deeper as teachers

                  witnessed the dramatic intensification of the societal inequities that

                  had always shaped their students' lives.

51.      The impact of virtual instruction, as a substitute to in-person learning has

also catalyzed the emergence of documented negative health impacts on children.

Alice Kuo 17 , Professor of Child Health Policy, Chief of Medicine-Pediatrics and

Director of the UCLA Center of Excellence in Maternal and Child Health and her
15
   Kyle McCarthy, Covid-19 Survey: Teachers Say Less than Half of Students Attending their Remote Classes,
Fishbowl (Ap1il 13, 2020), https://www .fishbowlapp.com/insights/2020/04/13/covide-19-survey-teachers-sav-less-
than-half-of-students-attending-their-remote-classes/.
16
   Reich, Justin Reich et al., What's Lost, What's Left, What's Next: Lessons Learned from the Lived Experiences of
Teachers during the 2020 Novel Coronavirus Pandemic, EdArXiv (Jul.22, 2020), https://edarxiv.org/8exp9.
17
   Alice Kuo and Casey Nagel, Remote school is putting kids under toxic stress, The Washington Post (August 10,
2020 ), https://www. washington post. com/ou ti ook/20 20/08/ l 0/remote-schoo I-toxic-stress/.


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 coauthor Casey Nagel, writing in the Washington Post noted that many children

 have begun to suffer from "toxic stress" - the repeated and persistent activation of

the body's fight-or-flight response. They link virtual schooling to an increase in the

risk that this generation of children will suffer increased risks of heart disease and

 diabetes, reduced lifelong earning potential, and crippled mental health, all

negative outcomes linked to toxic stress discussed as adverse childhood

experiences in The Lancet, one of the world's premier medical journals. 18

52.      Kuo and Nagel cite an·other Lancet19 article to emphasize that formation of

healthy physical and social habits along with inculcating a love of learning are

critical for children and "integrally associated with lower chronic disease burden,

higher economic earnings and increased overall life satisfaction, and every day out

of a school is taking these things away from the children in our society." 20

53.      Dr. Adrian James, President of the Royal College of Psychiatrists, echoed

Kuo and Nagle sentiments, stating the pandemic "is going to have a profound

effect on mental health" and "[i]t is probably the biggest hit to mental health since



18
   Karen Hughes, Mark A Bellis, Katherine A. Hardcastle, Dinesh Sethi, Alexander Butchart, Christopher Mikton,
Lisa Jones, and Michael P Dunne, The effect of multiple adverse childhood experiences on health: a systematic
review and meta-analysis, The Lancet (August, 2017), https:i/www.thelancet.com/iournals/lanpub/article/PTIS2468-
2667(17)30118-4/fulltext.
19 Mark A Bellis, Karen Hughes, Kat Ford, Gabriela Ramos Rodriguez, Dinesh Sethi, and Jonathon Passmore, Life

course health consequences and associated annual costs ofadverse childhood experiences across Europe and North
America: a systematic review and meta-analysis, The Lancet (September 03, 2019),
https://www .thelancet.com/joumals/lanpub/article/PITS2468-2667( 19)30145-8/fulltext.
20
   Alice Kuo and Casey Nagel, Remote school is putting kids under toxic stress, The Washington Post (August 10,
2020 ), https ://w,vw. washingtonpost. com/outlook/2020/0 8/ 10/remote-schoo I-toxic-stress/.


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the second. world war. It does not stop when the virus is under control and.there are

few people in hospital. You've got to fund the long-term consequences."21

54.      Concerns over consistent damage to children's mental health are not limited

to the passive effects of distance learning. School districts are actively contributing

to stunting student's mental development.

55.      In an interview with the Texas Scorecard again from April of 2021, Dr.

Sheri Tomak, PsyD, stated that, "Speaking as both a mom and a psychologist, the

continued use of masks ... does not appear warranted and is more of a detriment to

our children." She went on to note that the mental damage school districts are

inflicting on children through masking policies could lead to long term

psychological conditions, including depression and anxiety. 22

56.      Concerns regarding the health and safety of children m digital learning

environments extend to isolation that leads to child abuse. James Dwyer, Arthur B.

Hanson Chair at the William & Mary School of Law, states:

         We do have evidence of an impact on children's safety and physical
         well-being. There have been more severe cases of child abuse
         occurring and many children are suffering from a lack of access to
         food as a result of not attending school. We also have reason to



21 Ian Sample, Covid poses 'greatest threat to mental health since second world war', The Guardian (December 27,

2 020 ), https ://www. the guardian.com/society/2020/dec/27 / covid-poses-greatest-threat-to-mental-health-since-
second-wor ld-war.
22 Tera Collum, Psychologist Has 'Significant Concerns' About Long-Term Effects of Masking Students, Texas

Scorecard (April 7, 2021), https://texasscorecard.com/state/psychologist-has-significant-concerns-about-Iong-term-
effects-of-masking-students/.


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           suspect that there is more widespread maltreatment that has not been
           showing up at the emergency room. 23

 57.       Harvard Law School Professor Elizabeth Bartholet, faculty director the HLS

 Child Advocacy Program echoes these sentiments:

           I agree with Jim on the increased risk of child maltreatment, and I
           think it's important to think in terms of different categories of parents.
           One category consists of those who have been reported in the past for
           child abuse and neglect. These are the classic at-risk families. In the
           past, their children were being seen by teachers who are mandated to
           report any suspected abuse to child protection services. Those parents
           are now under the increased stress that goes with unemployment,
           isolation, and the related risks of drug and alcohol problems. So, kids
           that were already in danger are at more risk now and it's showing up
           in what the doctors are seeing in the emergency room, namely worse
           forms of injuries and higher death rates.

           And now there's a new category of parents with at-risk kids, those
           with no prior abuse history. A large proportion of all parents now are
           suffering extreme stresses related to COVID, including new concerns
           about their jobs, their housing, and their ability to feed their kids.
           Those stressors put the children at higher risk of maltreatment. 24

58.        Margo Lindauer, director of the Domestic Violence Institute at N01iheastern

University explains the mechanics of how keeping children out of school fosters

the circumstances in which abuse can occur. She writes, "[w]hat the data shows is




23Jeff Neal, Will online schooling increase child abuse risks?, Harvard Law Today (August 14, 2020),
https ://today. law .harvard.edu/wi ll-onl ine-schoo Iing-increase-ch iId-abuse-risks/.
24   Id.


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 that many child abuse and neglect reports come in through school; teachers,

 paraprofessionals, and nurses are mandated reporters." 25

 59.     She goes on to say, "In a non-pandemic world, [if] kids come in with a

 bruise, or they haven't been fed or bathed, or they have consistent injuries or

pain, that potentially could be reported to a child welfare agency." 26

60.      The Center for Disease Control has noted a "shift" in emergency room

visits for child injuries consistent with domestic violence, during the pandemic

and highlighted severity of child abuse-related injuries. 27

61.      Virtual education of school children is not necessarily an anodyne policy.

By creating physical separation between teachers and students, the principle

social mechanism of accountability regarding child welfare, the symbiotic

relationship between children, teachers, and parents is disrupted. The potential

negative consequences, speak for themselves.

62.     In conclusion, mask policies that use banishment from school to deter

dissenting parents and students are little more than a "join or die" policy


25
   Khalid a Sarwari, Closed Schools Could Be Putting Children At Risk During The Covid-19 Pandemic,
Northeastern University (October 23, 2020)https://news.northeastern. edu/2020/l 0/13/c losed-schools-could-be-
putting-children-at-risk-during-the-covid-19-pandemic/.
26 Id.
27
   Elizabeth Sweda, Nimi Idaikkadar, Ruth Leemis, Taylor Dias, Lakshmi Radhakrishnan, Zachary Stein, May Chen,
Nickolas Agathis, Kristin Holland, Trends in U.S. Emergency Department Visits Related to Suspected or Con.firmed
Child Abuse and Neglect Among Children and Adolescents Aged <18 Years Before and During the COVID-19
Pandemic - United States, January 2019-Septembe~· 2020, Centers for Disease Control and Prevention (December
11, 2020) https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/mm6949al-H.pdf.


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 designed to force parents to accept unhealthful mask wearing or an inferior

separate-but-equal style of educational isolation.

                           VI.     CONDITIONS PRECEDENT

63.     All conditions precedent have been met.

                                 VII. CAUSES OF ACTION

A. Claim - ISD's mask policy violates the Texas Open Meetings Act.

64.     Secret meetings of government entities violate the Texas Open Meetings

Act, found at sec. 551.002 of the Texas Government Code, which stipulates that

"[ e]very regular, special, or called meeting of a governmental body shall be open

to the public ... ".

65.    Furthermore, sec. 551.021(a) requires that "[a] governmental body shall

prepare and keep minutes, or make a recording, of each open meeting of the body."

66.    The Texas Supreme Court has held that, "[t]he Open Meetings Act generally

provides that an action taken in violation of the Act is 'voidable' ... ", Town of

Shady Shores v. Swanson, No. 18-0413, 63 Tex. Sup. Ct. J. 180, 2019 Tex. LEXIS

1213, at *19 (Dec. 13, 2019).

67.    In the Spring of 2020, JGISD created a School Reopening Committee,

comprised of unknown members. The committee members' identities have been

kept secret, until mid-March, and the minutes and policies of the committee are

nowhere published.

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 68.    After a search on the JGISD website, no record could be found of any

minutes, at any meeting, that describe the adoption of the mask policy, or any

authorization of any committee assigned to develop this policy.

69.     Due to the absence of public record, regarding how and why the school

mask mandate was adopted, Defendants have failed to demonstrate that it is

predicated on a rigorous scientific and medical basis. Even the Governor's expired

mask mandates exempted children. Furthermore, the absence of public records

regarding the Plan drafting committee's meetings, prevents public scrutiny of any

evidence weighing against adoption of a mandate e.g., negative developmental

impacts on children, stemming from an inability to see teachers' faces.

70.     The lack of any transparency in the development of the mask policy is a

denial of the right to petition and flies in the face of every good government

practice adopted since the American Revolution.

B. Claim--Defendants' mask policy unconstitutionally denies a free public
   education to C.L. under the Texas Constitution.

71.    The Texas Constitution, Article VII, section 1 states:

       SUPPORT AND MAINTENANCE OF SYSTEM OF PUBLIC FREE
       SCHOOLS. A general diffusion of knowledge being essential to the
       preservation of the liberties and rights of the people, it shall be the
       duty of the Legislature. of the State to establish and make suitable
       provision for the support and maintenance of an efficient system of
       public free schools.




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 72.    Article VII, section 1 of the Texas Constitution confers the right on school

 children for a public free school. Nedey v. W Orange-Cove Consol. Indep. Sch.

Dist., 176 S.W.3d 746, 774 (Tex. 2005).

73.     To fulfill the constitutional obligation under the Texas Constitution, Article

VII, section 1 to provide a general diffusion of knowledge, districts must provide

all Texas children access to a quality education that reasonably enables them to

achieve their potential and fully participate now and in the future in the social,

economic, and educational opportunities of our state and nation. Neeley v. W

Orange-Cove Consol. Indep. Sch. Dist., 176 S.W.3d 746, 787 (Tex. 2005) (citing

Tex. Educ. Code§§ 4.00l(a) and 28.001).

74.     Public schools in Texas may operate as provided by, and under the minimum

standard health protocols found in, guidance issued by the Texas Education

Agency ("TEA").

75.    Children and parents who object to the masking of minor children for

extended periods of time, are presently compelled to rely on virtual learning in lieu

of in-person instruction. As demonstrated above, virtual learning does not provide

the same level of education as that received by those receiving classroom

instruction. If it did, there would be no need for brick-and-mortar schools.

76.    Defendants' policy is irrational because it sentences children to an inferior

mode of education based on their parents' convictions or the convictions of the


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 minors. Furthermore, the danger to students from COVID-19 and the danger to

teachers is minimal.

77.     Requiring mandatory face masking for all students fails the rational basis

test and is clearly not in a child's best interest when assessed factually.

78.     Furthermore, public schools in Texas may operate as provided by the

minimum standard health protocols found in, guidance issued by TEA under

Executive Order GA-32. The TEA Guidance offers "Operational Considerations"

for the use of masks schools. The TEA Guidance states schools "should consider

stringently applying recommended practices to adults on campuses, even when it

might not be feasible to do so for students .... " The TEA Guidance does not include

any recommendation to discipline or remove students or parents who do not use

personal protection equipment ("PPE") in school.

79.    The TEA Guidance recommends that public school systems consult with

their local public health authorities and local legal counsel before making final

decisions regarding the implementation of this guidance. Kent County local public

health authorities do not recommend, let alone require, students and parents to use

PPE in school. Certainly, practices vary all over the state - Collin County local

public health authorities require the discipline or removal of students or parents

who do not use PPE in school, for example.




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 80.      Additionally, the mask policy includes no specification for mask

 construction, leading to farcical "masks" made of cheesecloth or other sheer fabric

 that no reasonable person would suggest deters COVID-19 spread.

 81.      The GTISD mask policy is now little more than a game of compliance for its

 own sake, benefitting no one while those who point out that the emperor is naked

 are punished with a Kafkaesque banishment to home schooling.

 C. Claim-The mask policy violates parental rights to determine their minor
    child's medical treatment.

82.       The Defendants' mask policy that requires minors to wear masks, as is being

done here, meets the definition of a medical device. 28 School mask mandates

interfere with the parents' right to choose the medical decisions and treatments for

their minor children; Texas law gives all parents the duty of providing medical and

dental care to their children, and therefore, gives them the explicit right to consent

to that treatment (including medical, dental, psychiatric, psychological, and

surgical treatment). See Tex. Fam. Code §153.073(a)(3).




28
   According to the United States Food and Drug Agency, a face mask is a device, with or without a face shield, that
covers the user's nose and mouth and may or may not meet fluid barrier or filtration efficiency levels. It includes
cloth face coverings as a subset. It may be for single or multiple uses, and if for multiple uses it may be laundered or
cleaned. There are many products marketed in the United States as "face masks" that offer a range of protection
against potential health hazards. Face masks are regulated by FDA when they meet the definition of a "device"
under section 20l(h) of the Act. Generally, face masks fall within this definition when they are intended for a
medical purpose. Face masks are regulated under 21 CFR 878.4040 as Class I 510(k)=exempt devise (non-surgical
masks).


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D. Claim-Mandate violates the Equal Protection Clause and Due Process
   Clause of the Texas Constitution.

83.     Article I, § 3 of the Texas Constitution states, "[a]ll free men, when they

form a social compaGt, have equal rights, and no man, or set of men, is entitled to

exclusive separate public emoluments or privileges, but in consideration of public

services." The Defendants' mask order has the practical effect of treating similarly

situated classes of students differently. The disparate and unequal treatment of

these separate entities is not fully explained and has no rational basis.

84.     Equal Protection refers to the idea that a governmental body may not deny

people equal protection of its governing laws. The state must treat an individual in

the same manner as others in similar conditions and circumstances.

85.    Generally, a legislature may make distinctions among people for any proper

purpose, as long as the distinction is rational. To pass the rational basis test, the

school's policy must have a legitimate state interest, and there must be a rational

connection between the policy's means and goals. There must ·be a logical

relationship between the purpose of a law and any cla~sification of people that it

makes. Without this "rational basis," courts will strike challenged laws.

86.    Plaintiffs do not contend that the government has a compelling

governmental interest in arresting the spread of COVID-19 m the general

population. Nor do Plaintiffs maintain that masking in public spaces or even

private homes, is inappropriate.
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 87.    Plaintiff's claim is narrow and precise. Plaintiffs' claim begins with

recognition that this is not primarily a dispute about masks. Some parents will not

permit their students to wear masks and some students will refuse to do so. In light

of those facts, Defendants have sentenced these dissenters to virtual instruction,

and the question before the court revolves around the propriety of that penal

sanction.

88.     Plaintiff admits that although the state has a legitimate interest in mitigating

the spread of COVID-19, blanket mask mandates in schools do not create a

sufficient rational connection between policy's means and goals. Namely, the

evidence that COVID-19 does not spread among students, or betwixt students and

teachers, coupled with the documented adverse impacts of virtual instruction,

militates against the notion that separate and unequal virtual education is the

appropriate remedy the challenge schools face               in balancing competing

interpretations of adverse risks posed by the pandemic.

89.    Adding to these observations is the lack of any substantive mask

specification. In the eyes of JGISD, all face coverings are sufficient to accomplish

the goal of limiting COVID-19 spread, or at least good enough. But JGISD has no

science to support that theory, as its administrators simply adopt the belief that

every face covering is good and when challenged, assert that the practice has no

cost and might help. But JGISD's "science" is little more a primitive man walking


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out of his cave, noticing that the land in front of him is not obviously curved, and

then pronouncing that the world is flat. Such a belief would not immediately harm

him, but it would be wrong, and limit his culture's progress.

90.     Aliicle I,§ 319 of the Texas Constitution states, "[n]o citizen of this State

shall be deprived of life, liberty, property, privileges or immunities, or in any

manner disenfranchised, except by the due course of the law of the land."

91.    Defendants' mask policy punishes noncompliant students with virtual

learning in place of in-person instruction. This is tantamount to an expulsion from

the public school and has significant implications for families with work

requirements who are unable to monitor their children during the workday.

92.    The Defendants' policy, perhaps best conceptualized as "expulsion with

caveats", creates a situation where teachers must act as the mask police for

children who lack the maturity level to comply with this policy on a long-term

basis, hour after hour, day after day. As noted above, parents and teachers have

been profoundly taxed by the exigencies of the pandemic and when children are

sentenced to virtual instruction, the statistics leave no doubt that many children

will slip through the cracks and suffer lasting harm to their educational

advancement and even mental wellbeing.

93.    Virtual instruction violates the due process rights of the parents and their

children because mandatory school masking does not provide a clear process


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outlining why virtual learning is the appropriate sanction for an exercise of

conscience regarding a risk assessment faced by our society.

94.     Reasonable people may differ on the balance the risk of COVID-19

transmission and potential damage to children of zealous pandemic mitigation.

That difference in risk assessment is no grounds for denial of fundamental due

process rights and the creation of a shadow underclass of undereducated students.

E. Claim--GJISD's mask mandate violates the Fourteenth Amendment.

95.     The Fourteenth Amendment to the United States Constitution forbids the

State to deprive any person of life, liberty, or property without due process of law.

Goss v. Lopez, 419 U.S. 565, 572 (1975). When a state statµte directs local

authorities to provide a free education to all children and a compulsory-attendance

law requires attendance for school, school children plainly have legitimate claims

of entitlement to a public education. Id. at 573.

96.    Children do not shed their constitutional rights when they enter a school.

Tinker v. Des Moines School Dist., 393 U.S. 503, 506 (1969). "The Fourteenth

Amendment, as now applied to the States, protects the citizen against the State

itself and all of its creatures -Boards of Education not excepted." West Virginia

Board ofEducation v. Barnette, 319 U.S. 624, 637 (1943).

97.    The State is constrained to recognize a student's legitimate entitlement to a

public education as a property interest which is protected by the Due Process


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Clause. Goss at 574; and see New Braunfels Indep. Sch. Dist. v. Armke, 658

S.W.2d 330, 332 (Tex.-Waco 1983, no writ.) (quoting Goss v. Lopez). The Due

Process Clause also forbids arbitrary deprivations of liberty. Id.

98.     The Fourteenth Amendment to the U.S. Constitution guarantees equal

protection. Here, similarly situated students, namely, students in school, are treated

differently, due to uneven application and enforcement of the mask policy. Exh. 8.

99.     For example, students are not required to be masked during school plays,

school photos, in close contact among players in school-sponsored football, or in

the stands at school-sponsored sporting events. Exh. 8.

100. Taken together, the photos attached in Exhibit 8 demonstrate that there is no

consistent medically based enforcement of the ISD's mask policy. Instead, the

photos show that a pattern of whimsical and haphazard enforcement of the mask

mandate is applied to students, provided the wear it at the door.

101. Because the mask policy is based on no science and is enforced unevenly, no

reasonable person can defend GTISD's policy as anything other than an arbitrary

deprivation of the right to disfavored student families to public education.




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F. Claim-Declaratory Judgment - the mask policy was enforced ultra vires.

 102. An ultra vires action requires a plaintiff to "allege and ultimately prove that

the officer acted without legal authority or failed to perform a purely ministerial

act." See City of El Paso, v. Heinrich, 284 S. W.3d 366, 372 (Tex. 2009). See also

Hall v. McRaven, 508 S.W.3d 232,243 (Tex. 2017).

103. The Supreme Court of Texas defines "without legal authority" by holding,

"a government officer with some discretion to interpret and apply a law my

nonetheless act 'without legal authority,' and thus ultra vires, if he exceeds the

bounds of his granted authority or if his acts conflict with the law itself." See Haus.

Belt & Terminal Ry. Co. v. City ofHouston, 487 S.W.3d 154, 158 (Tex. 2016).

104. "Ministerial acts" are those, "where the law prescribes and denies the duties

to be performed with such precision and certainty as to leave nothing to the

exercise of discretion or judgment." Sw. Bell Tel., L.P. v Emmett, 459 S. W. 3d

578, 578 (Tex. 2015) (quoting City of Lancaster v. Chambers, 883 ~- W.2d 650,

654 (Tex. 1994)).

105. Here the superintendent Johnny Tub acted illegally by authorizing and

aiding in the creation of an unlawful committee and substituted his medical

judgment for that of parents and medical professionals.

106. After GITSD adopted the mask policy illegally, Lyle Lacky acted ultra vires

by barring C.L. from school without licit authority, due to the absence of any


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properly adopted policy on which he could justifiably rely to bar a nonconforming

student from school.

     VIII. APPLICATION FOR TEMPORARY RESTRAINING ORDER

107. Plaintiff requests a temporary restraining order ("TRO"), to preserve the

status quo, by preventing Defendants from enforcing- their prohibition against non-

mask wearing students entering school, and receiving in-person instruction, until

the TRO is moot; the Court issues a temporary injunction, or the case can be

adjudicated.

108. The purpose of a TRO is to preserve the status quo, which the Supreme

Court has defined as "the last, actual, peaceable, non-contested status which

preceded the pending controversy." In re Newton, 146 S.W.3d 648, 651 (Tex.

2004) ( cleaned up).

109. A TRO restrains a party from acting, only during the pendency of motion for

temporary injunction, i.e., until a full evidentiary hearing on the motion occurs. Del

Valle ISD v. Lopez, 845 S.W.2d 808, 809 (Tex. 1992); see Tex. R. Civ. P. 680.

110. Any TRO issued by a trial court must:

   "(1) [S]tate why the order was granted without notice if it is granted ex parte, (2) state the
   reasons for the issuance of the order by defining the injury and describing why it is
   irreparable, (3) state the date the order expires and set a hearing on a temporary
   injunction, and (4) set a bond."

In re Office of the AG, 257 S.W.3d 695, 697 (Tex. 2008) (cleaned up).




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 111. The comparative injury, or balance of equities and hardships, to the parties

and to the public interest, support granting a temporary restraining order; Plaintiff

is only asking the Court to preserve the status quo and require the Defendants to

cease from enforcing their prohibition, which is damaging Plaintiffs constitutional

rights to a public education.

112. There is no adequate remedy at law that will give C.L. full relief, because

denial of in-person education should be addressed immediately. Each day, the

Plaintiff suffers significant irreparable damage to his constitutional rights, to due

process of law and education. C.L. 's total damages cannot be measured with

certainty, and it is neither equitable, nor conscionable, to allow Defendants to

violate C.L. 's constitutional rights.

113. The loss of constitutional freedoms for, "even minimal periods of time,

unquestionably constitutes irreparable injury." Elrod v. Burns, 427 U.S. 347, 373

(1976). Additionally, the loss of quality educational time can never be replaced.

114. The harm to the Plaintiff, if this TRO is denied, will be significant and

irreparable. If this Court allows the ISD to continue unchecked, C.L. faces the total .

loss of his right to a public education - of similar quality to his mask wearing peers

- for no other reason than a secret policy, created by a secret and illegal committee.

115. The Plaintiffs are entitled to a TRO, because Defendants can show no harm

to the ISD, in granting the relief requested. Defendants violated the legal process


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and the Texas Open Meetings Act. Enjoining an already illegal and

unconstitutional policy does not cause harm to the Defendants.

116. Therefore, Plaintiff respectfully requests that this Court issue a temporary

restraining order against the Defendants - restraining them, their agents,

representatives, employees, or anyone acting on their behalf, including teachers -

until further order of the Court; and from taking any actions to enforce the mask

policy outlined in the Plan, or any iteration thereof against C.L., including but not

limited to, permitting C.L. access to school without a mask. The proposed TRO is

attached as Exh. 6.

117. Plaintiff requests that the TRO last for fourteen days from the issue date of

the order, and then extending the TRO as necessary until the Court can consider an

injunction.

118. Because Plaintiff seeks a TRO, it must post a bond. Because the TRO is

sought against a state entity, which will suffer no damage, Plaintiff requests that

bond be set at $100.00.




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 IX.     APPLICATION FOR TEMPORARY & PERMANENT INJUNCTION

 119. Similarly, Plaintiffs seek that this Court first temporarily enjoin, and then

permanently enjoin the ISD, restraining it or anyone acting on its behalf, including

teachers, from enforcing the mask policy outlined in the Plan; or any later iteration

thereof against Plaintiff, including but not limited to, permitting C.L. access to

school without a mask.

120. Absent judicial intervention, Plaintiff faces ongoing requirements impacting

his education, and has no practical ability to, again, prevent the ISD from further

penalizing him, and continuing to provide an inequitable education.

121. There is no adequate remedy at law that will give C.L. full relief, because

denial of in-person education should be addressed immediately. Each day, the

Plaintiff suffers significant irreparable damage to his constitutional rights, to due

process of law and education. C.L.'s total damages cannot be measured with

certainty, and it is neither equitable, nor conscionable, to allow Defendants to

violate C.L. 's constitutional rights.

122. The Court should note it is not necessary at the hearing for temporary

injunction, for Plaintiffs. to prove they will ultimately prevail, Sun Oil Co. v.

Whitaker, 424 S.W.2d 216, 218 (Tex. 1968) but only that Plaintiffs are entitled to

the preservation of the status quo, pending trial. Iranian Muslim Org. v. City of San

Antonio, 615 S.W.2d 202, 208 (Tex. 1981).


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 123. The comparative injury, or balance of equities and hardships, to the parties

 and to the public interest, support granting injunctive relief; the Plaintiff is only

asking the Court to preserve the status quo and require Defendants to cease

unlawfully infringing upon Plaintiffs constitutional rights - with a temporary, and

then permanent injµnction after trial.

                                   X.     JURY DEMAND

124. Plaintiffs herewith tender the jury fee and request a jury trial.

                                 XI.    FINAL SUMMARY

125. In sum, Plaintiffs do not challenge the medical efficacy of a proper medical

mask used in a medical environment, the propriety of masking adults, the propriety

of masking teachers, nor even, the propriety of voluntary masking of children with

parental consent. Plaintiffs argument rests on the unimpeachable reality that

mandatory      masking       of school-aged     children   is   medically   unnecessary,

psychologically, and educationally harmful, and unjustified based on contemporary

understanding of COVID-19 transmission among children. Specifically, Plaintiffs

contend that Defendants' mandatory child masking policies violate the Texas Open

Meetings Act in their inception, and violate the Texas Constitution and Federal

Constitution's guarantees enshrining the civil right to free public education of the

Fourteenth Amendment's Equal Protection and Due Process clauses by creating a

bifurcated system of education where non-masking students are relegated to a


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 separate and unequal class of students who are sentenced to virtual learning in leu

of in-person instruction. Plaintiffs further contend that less restrictive means of

accomplishing the government's interest in arresting the spread of COVID-19 can

be accomplished through employing social distancing, face shields, and

vaccinations in schools and other prophylactic measures.

                                        XII. PRAYER

        Plaintiffs respectfully pray that the Defendants be cited to appear and

answer, as required by law; and, after trial by jury, Plaintiffs be awarded judgment

against Defendants, a Temporary Restraining Order, a Temporary Injunction, a

Permanent Injunction, actual damages, and general damages; mental anguish;

nominal damages in the alternative; reasonable and necessary attorney's fees, as

damages in equity; pre-judgment and post-judgment interest; court costs, and

exemplary damages; and all other relief to :which Plaintiffs may be justly entitled,

in both law and equity.

                                      Respectfully submitted,

                                     By: Isl Warren V. Norred
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Exhibits:
Exh I. June 18, 2020, Jayton-Girard ISD Schoolboard Minutes
Exh. 2. Declaration of Clint Long
Exh. 2a JGISD 2020-2021 Reopening Plan
Exh. 2b Video of Denial of Entry
Exh 3. Proposed Temporary Restrai'ning Order
Exh4. GA-34
Exh 5. GA-29
Exh 6. April 20, 2021, Jayton-Girard ISD Schoolboard Minutes
Exh 7. School Photos




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   Exh. 2A - JGSID Reopening Plan                                                  10
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                  EXHIBIT 1
  Jayton-Girard Independent School District - June 18, 2020 - School Board
                             Meeting Minutes




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                                                                                                EXHIBIT 1
The board of Trustees of the Jayton-Girard Independent School District met in regular session on June 18, 2020,
with the following members present: to wit:

                                           Amanda McGee-President
               Kathy Owen                                                  Connie Martinez
               B.J. Baldridge                                              L'Rae Lee


School Officials Present: Trig Overbo-Superintendent, Lyle Lackey-Principal, Laci Scogin-Business Manager

Visitors Present and their comments:

And the following members absent: Cole Carpenter and Cody Stanaland

Constituting a quorum and among other proceedings had by said Board of Trustees, were the following:

Meeting called to order by President Amanda McGee at 7:02 pm.

Principal's report included scheduling, curriculum, summer training, Chromebook vs iPads, summer workouts,
and Scholastic Network.

Superintendent's report included library relocation and surplus books, school housing repairs, school calendar,
begin COVID-19 protocol talks, front entrance, day care/gym, paving, tennis courts, and school housing.

Minutes from the May 14, 2020 Regular Meeting and the June 1, 2020 Called Meeting were presented. Motion
made by Kathy Owen, seconded by Connie Martinez to approve the minutes. All in favor.

The bills and financial report were presented. Motion made by L'Rae Lee, seconded by BJ. Baldridge to
approve the bills as presented. All in favor.

Motion made by B.J. Baldridge, seconded by Connie Martinez to call for vehicle fuel and propane bids and to
call for vendors for Personal Property valued between $10,000 and $25,000 for the 2020-2021 fiscal year. All
in favor.

Motion made by Connie Martinez, seconded by B.J. Baldridge to approve the annual review of Investment
Policies and Procedures as presented. All in favor.

Motion made by Kathy Owen, seconded by Connie Martinez to name Laci Scogin as the Investment Officer for
Jayton-Girard ISD. All in favor.

Motion made by B.J. Baldridge, seconded by Kathy Owen to approve the request for County Permanent School
Funds in the amount of $348,063.22 for capital improvements. All in favor.

No action taken on Depository Contract Extension with Bank of Texas. Current contract in effect until August
31, 2021.

Motion made by L'Rae Lee, seconded by BJ. Baldridge to approve missed school day waiver as presented. All
in favor.

Motion made by Kathy Owen, seconded by B.J. Baldridge to accept bid from White River Youth Camp in the
amount of $2,200 for the house located at 601 Jefferson pending proof of bond and insurance. All in favor.

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            Case 5:21-cv-00111-H Document 1-3 Filed 05/11/21            Page 39 of 88 PageID 47
                                                                                            EXHIBIT 1
No action taken on Fund Balance Designation.

Next board meeting: July 21, 2020 at 7:00pm

Motion made by Connie Martinez, seconded by B.J. Baldridge to adjourn the meeting. All in favor.

Meeting adjourned at 8:08 pm.




President                                                Secretary




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                 EXHIBIT 2
             Declaration of Clint Long with Attached Exhibits




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                                                                                              EXIDBIT2


                     Declaration      (TEX. C1v. PRAc. & REM. CODE § 132.001)

"My name is Clint Long, my date of birth is August 03 rd , 1978 and my contact address is Box
243 Jayton, Tx. 79528. I declare under penalty of perjury that the following statements are true
and correct."
      1. I am a resident of Kent County Texas.

      2. My son Carson Long attends school in the Jayton-Girard Independent School District.

      3. On July 17th , the school district sent a text message to all parents, with children enrolled
         in Jayton-Girard ISD.

      4. The text message included an attachment labeled, "JGISD 2020-2021 Reopening Plan.
         ("Plan" attached as Exhibit 2A).

      5. Neither the process by which the Plan was created, nor the parties responsible for the
         creation of the plan were specified anywhere in the document.

      6. I could not find the Plan anywhere on the Jayton-Girard ISD website, and I believe it is
         not published anywhere.

      7. No forms were sent to parents to sign regarding the Plan.

      8. Jayton-Girard ISD reopened school on August 13, 2020.

      9. The Plan included detailed provisions regarding face coverings:

  •     Faculty, staff, and students are required to wear a face covering when entering
        and exiting the building, and during passing periods.

            o   PK-2nd grade will be required to wear a face covering when entering or exiting
                the building. Once in the classroom a face shield provided by the district will be
                worn during instruction time. Neck gaiters provided by the district will be worn
                during recess and PE time when students are in close contact.

            o   3rd-12th grade will be allowed to wear their own choice of face covering when
                entering or exiting the building, in the classroom, and during the passing periods.
                Neck gaiters provided by the district will be worn during recess, PE time, and
                athletics when students are in close contact. Students may be asked by their
                teachers at times to wear a face shield instead of a mask for educational
                ourooses.




Declaration of Clint Long                                                                       Pagel

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                                                                                          EXHIBIT 2




     10. The Plan also includes a number of exemptions to the general mask mandate, including:

 •    We don't intend for the students to wear a face covering for the entire duration of
      a school day and faculty and staff will be looking for every opportunity to reduce
      the use of face coverings when other mitigating strategies can be met.

      For example:

          o   Face coverings are NOT required to be worn in the classroom when 6ft of social
              distancing is available. (teacher discretion)

          o   Face coverings are NOT required when students are outside and are able to
              maintain 6ft of social distancing. {teacher & coach discretion)

          o   Face coverings are NOT required when eating breakfast & lunch.



     11. The Plan includes no exemptions based on disability, religion, or conscience.

     12. The Plan does specify that the mask policies are subject to revision based on CDC, state,
         and local recommendations:

 Our first priority is the safety of our students, employees, families, and surrounding
 community, and we strive to make the most responsible decisions to facilitate a safe
 environment for all. We would also like to emphasize that because of the fluid natl/re of
 this pandemic, CDC, state and local authority recommendations and mandates may be
 different on the first day of school than they are at the Ume of distribution of this
 information. We wilf adjust accordingly.


     13. I requested a religious exemption from mask wearing from the school because I believe
         the basis for wearing masks is not true. My request was denied.

     14. In March of 2021, the names of the committee members who authored the Plan were
         released to some parents, but were not published on Jayton-Girard ISD website.

     15. However, the process by which the committee drafted the Plan remains unknown.
         Membership criteria regarding on the committee remains secret.

     16. Carson has been denied access to Jayton-Girard ISD, during the Spring 2021 term due to
         my objection to mask wearing on religious and conscience grounds.

     17. The ISD, through its agents, has cited the mask policy as the grounds for Carson's
         exclusion from school.

Declaration of Clint Long                                                                     Page 2

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                                                                                        EXHIBIT 2


    18. On March 11 th , 2021, I approached to door to the school with my son but was stopped
        outside by a school official Lyle Lackey ("Recording" attached as Exhibit 2B).

    19. We exchanged greetings, but I observed him blocking the door, so I asked "we're not
        coming in?"

   20. I was then told that Carson had to wear a mask to enter.

   21. When I asked him if he was going to deny us access without a mask, he said, "Yes."

   22. When I asked about the religious exemption that we were claiming, he replied that
       administrative codes that referred to immunization exemptions based on religion did not
       apply to masks.

   23. When I asked, "Either way, you're not going to accept religious exemptions?" he replied,
       that exemptions only apply to immunization.

   24. Ultimately, my son was barred from entering school because he refused to comply with a
       mask policy based on a secretly created irrational school policy that has no basis and to
       which he had a sincerely held religious belief.




                                      Clint l.t1ng




Declaration of Clint Long                                                                Page 3

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              EXHIBIT 2A JGISD Reopening Plan




                                                    APPX. Pg. 10 of 67
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                                                                                  EXHIBIT 2A



       JG/SD2020-20218I0PIIIIIIGPUii




      Our objective is to return to the social interaction of a connected
  learning environment while implementing reasonable measures for
                        student and staff safety.



At JG/SD, we are committed to a safe and complete return to school on August 13,
2020, and we are preparing to provide full in-person instruction. If you are not
comfortable sending your child into the school building, then remote learning for PK-
12th grades will be provided in compliance with TEA guidelines. We have been
monitoring the spread of Covid-19 in Kent County and have created a plan that is
reasonable and appropriate to do our part to stay healthy and provide a safe learning
environment for all of our staff and students. The plans set forth are subject to change
depending on future developments, but the following will allow us to return to the school
environment we so deeply love and value.




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                                                                      EXIDBIT
     Case 5:21-cv-00111-H Document 1-3 Filed 05/11/21 Page 46 of 88 PageID 54 2A.
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                           Content Covered


    01-- Daily Procedures



    02-- Face Coverings



    03-- Remote Learning Plan



    04-- Cleaning Protocols



    05--Distancing Guidelines & Supporling a Healthy
    Campus



    06--Parlial Closures & Plan Review




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                                                                                      EXIIlBIT 4




                                          BY THE
                               GOVERNOR OF THE STATE OF TEXAS

                                          Executive Department
                                             Austin, Texas
                                              March 2, 2021


                                          EXECUTIVE ORDER
                                                   GA34

                Relating ta the opening of Texas in response to the COVJD-19 disaster.




        WHEREAS, I, Greg Abbott, Governor of Texas, issued a disaster proclamation on March
         13, 2020, certifying under Section 418.014 of the Texas Government Code that the novel
        coronavirus (COVID-19) poses an imminent threat of disaster for all counties in the
        State of Texas; and

        WHEREAS, in each subsequent month effective through today, I have renewed the
        disaster declaration for all Texas counties; and

        WHEREAS, I have issued executive orders and suspensions of Texas laws in response to
        COVID-19, aimed at protecting the health and safety of Texans and ensuring an
        effective response to this disaster;· and

        WHEREAS,! issued Executive Order GA-08 on March 19, 2020, mandating social-
        distancing restrictions in accordance with guidelines promulgated by President Donald J.
        Trump and the Centers for Disease Control and Prevention (CDC); and

        WHEREAS, I subsequently issued a series of superseding executive orders aiming to
        achieve the least restrictive means of cornbatting the evolving threat to public health by
        adjusting social-distancing restrictions while implementing a safe, strategic plan to
        reopen Texas; and

        WHEREAS, under Executive Order GA-32, in effect since October 14, 2020, most
        establishments have been able to operate up to at least 75 percent of total occupancy,
        except in some areas with high hospitalizations as defined in that order, where most
        establishments have been able to operate up to at least 50 percent of total occupancy: and

        WHEREAS, J also issued Executive Order GA-29, regarding the use of face coverings to
        control the spread of COVID-19. and a series of executive orders, most recently GA-31,
        limiting certain medical surgeries and procedures; and

        WHEREAS, COVID-19 hospitalizations and the rate of new COVID-19 cases have
        steadily declined due to the millions of Texans who have voluntarily been vaccinated,
        many more who are otherwise immune, improved medical treatments for COVID-19
        patients, abundant supplies of testing and personal protective equipment, and Texans'
        adherence to safe practices like social distancing, hand sanitizing, and use of face
        coverings; and

        WHEREAS, in the Texas Disaster Act of 1975, the legislature charged the governor with
        the responsibility "for meeting ... the dangers to the state and people presented by

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                                                                                       EXHIBIT4

      Governor Greg Abbott                                                          Executive Order GA-34
      March 2, 202 i                                                                                Page2




          disasters" under Section 418.011 of the Texmi Government Code, and expressly granted
          the governor broad authority to fulfill that responsibility; and

         WHEREAS, under Section 418_.012, the "governor may issue executive orders ...
         hav[ingJ the force and effect of Jaw;"

        NOW, THEREFORE, I, Greg Abbott, Governor of Texas, by virtue of the power and
        authority vested in me by the Constitution and laws of the State of Texas, and in
        accordance with guidance from medical advisors, do hereby order the following on a
        statewide basis effective at 12:01 a.m. on March !O, 202[:

           l. In all counties not in an area with high hospitalizations as defined below:
                a. there are no COVlD-19-related operating limits for any business or other
                     establishment; and
                b. individuals are strongly encouraged to wear face coverings over the nose and
                     mouth wherever it is not feasible to maintain six feet of social distancing from
                     another person not in the same household, but no person may be required by
                     any jurisdiction to wear or to mandate the wearing of a face covering.
              "Area with high hospitalizations" means any Trauma Service Area rhat has had
              seven consecutive days in which the number of COVID-19 hospitalized patients
              as a percentage of total hospital capacity exceeds 15 percent, until such time as
              the Trauma Service Area has seven consecutive days in which the number of
              COVJD-19 hospitalized patients as a percentage of total hospital capacity is 15
              percent or less. A current list of areas with high hospitalizations will be
              maintained at www .dshs.texas.gov/ga303 l.
          2. In any county located in an area with high hospitalizations as defined above:
               a. there are no state-imposed COYID-19-related operating limits for any
                  business or other establishment;
               b. there is no state-imposed requirement to wear a face covering; and
               c. the county judge may use COVID-19-relatcd mitigation strategies; provided,
                  however, that:
                  i. business and other establishments may not be required to operate at less
                       than 50 percent of total occupancy, with no operating limits allowed to be
                       imposed for religious services (including those conducted in churches,
                       congregations, and houses of worship), public and private schools and
                       institutions of higher education, and chi Id-care services;
                  11. no jurisdiction may impose confinement in jail as a penalty for violating
                       any order issued in response to COVID-19; and
                  iii. no jurisdiction may impose a penalty of any kind for failure to wear a face
                       covering or failure to mandate that customers or employees wear face
                       coverings, except that a legally authorized official may act to enforce
                       trespassing laws and remove violators at the request of a business
                       establishment or other property owner.
          3. In providing or obtaining services, every person (including individuals, businesses,
             and other legal entities) is strongly encouraged to use good-faith efforts and
             available resources to follow the Texas Department of State Health Services
             (DSHS) health recommendations, found at www.dshs.lexas.gov/coronavirus.
         4. Nothing in this executive order precludes businesses or other establishments from
             requiring employees or customers to follow additional hygiene measures, including
           · the wearing of a face covering.
         5. Nursing homes, state supported living centers, assisted living facilities, and long-

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                                                                                       EXHIBIT4

      Governor Greg Abbott                                                          Executive Order GA-34
      March 2, 2021                                                                                 Page 3




              term care facilities should follow guidance from the Texas Health and Human
              Services Commission (HHSC) regarding visitations, and should follow infection
              control policies and practices set forth by HHSC, including minimizing the
              movement of staff between facilities whenever possible.
          6. Public schools may operate as provided by, and under the minimum standard health
             protocols found in, guidance issued by the Texas Education Agency. Private
             schools and institutions of higher education are encouraged to establish similar
             standards.
          7. County and municipal jails should follow guidance from the Texas Commission on
             Jail Standards regarding visitations.
          8. Executive Orders GA-17, GA-25, GA-29, and GA-31 are rescinded in their entirety.
          9. This executive order shall supersede any conflicting order issued by local officials
             in response to the COVID-19 disaster. but only to the extent that such a local order
             restricts services allowed by this executive order or allows gatherings restricted by
             this executive order. Pursuant to Section 418.016(a) of the Texas Government
             Code, I hereby suspend Sections 418.101 S(b) and 418.108 of the Texas Government
             Code, Chapter 81, Subchapter E of the Texas Health and Safety Code, and any other
             relevant statutes, to the extent necessary to ensure that local officials do not impose
             restrictions in response to the COVID-19 di:.;aster that are inconsistent with this
             executive order, provided that local officials may enforce this executive order as
             well as local restrictions that are consistent with this executive order.
          10. All existing state executive orders relating to COVID-19 are amended to eliminate
              confinement in jail as an available penalty for violating the executive orders. To the
              extent any order issued by local officials in response to the COVID-l 9 disaster
              would allow confinement in jail as an available penalty for violating a COVID-19-
              related order, that order allowing confinement in jail is superseded, and I hereby
              suspend all relevant laws to the extent necessary to ensure that local officials do not
              confine people in jail for violating any executive order or local order issued in
              response to the COVID-19 disaster.

        This executive order supersedes Executive Orders GA-17, GA-25, GA-29, GA-31, and
        GA-32, but does not supersede Executive Orders GA-10 or GA-13. This executive order
        shall remain in effect and in full force unless it is modified, amended, rescinded, or
        superseded by the governor. This executive order may also be amended by proclamation
        of the governor.

                                                      Given under my hand this the 2nd
                                                      day of March, 2021.




                                                      GREG ABBOTT
                                                      Governor




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       Governor Greg Abbott                              Executive Order GA-34
       March 2, 2021                                                     Page 4




           UTHR.HUGHS
          Secretary of State




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                 EXHIBIT 5
                         Executive Order GA-29




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                                        GOVERNOR GREG ABBOTT


    July 2, 2020




    The Honorable Ruth R. Hughs
    Secretary of State
    State Capitol Room lE.8
    Austin, Texas 78701

    Dear Secretary Hughs:

    Pursuant to his powers as Governor of the State of Texas, Greg Abbott has issued the following:

           Executive Order No. GA-29 relating to the use of face coverings during the
           COVID-19 disaster.

    The original executive order is attached to this letter of transmittal.




                 lerk to the Governor



    Attachment




                 POST OFFICE BoxU428 AUSTIN, TEXAS 78711512-463-2000 (VOICE) DIAL 7-1-1 FOR RELAY SERVICES




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                                                                                    EXHIBIT 5




                                         BY THE
                              GOVERNOR OF THE STATE OF TEXAS

                                         Executive Department
                                             Austin, Texas
                                               July 2, 2020


                                         EXECUTIVE ORDER
                                              GA29

                  Relating to the use offace coverings during the COVID-19 disaster.




        WHEREAS, I, Greg Abbott, Governor of Texas, issued a disaster proclamation on March
        13, 2020, certifying under Section 418.014 of the Texas Government Code that the novel
        coronavirns (COVID-19) poses an imminent threat of disaster for all counties in the
        State of Texas; and

        WHEREAS, in each subsequent month effective through today, I have renewed the
        disaster declaration for all Texas counties; and

        WHEREAS, the Commissioner of the Texas Department of State Health Services
        (DSHS), Dr. John Hellerstedt, has determined that COVID-19 continues to represent a
        public health disaster within the meaning of Chapter 81 of the Texas Health and Safety
        Code; and

        WHEREAS, I have issued executive orders and suspensions of Texas laws in response to
        COVID-19, aimed at using the least restrictive means available to protect the health and
        safety of Texans and ensure an effective response to this disaster; and

        WHEREAS, as Texas reopens in the midst ofCOVID-19, increased spread is to be
        expected, and the key to controlling the spread and keeping Texans safe is for all people
        to consistently follow good hygiene and social-distancing practices; and

        WHEREAS, due to recent substantial increases in COVID-19 positive cases, and
        increases in the COVID-19 positivity rate and hospitalizations resulting from COVID-
        19, further measures are needed to achieve the least restrictive means for reducing the
        growing spread of COVID-19, and to avoid a need for more extreme measures; and

        WHEREAS, I have joined the medical expe1ts in consistently encouraging people to use
        face coverings, and health authorities have repeatedly emphasized that wearing face
        coverings is one of the most important and effective tools for reducing the spread of
        COVID-19; and

        WHEREAS, given the current status of COVID-19 in Texas, requiring the use of face
        coverings is a targeted response that can combat the threat to public health using the
        least restrictive means, and if people follow this requirement, more extTeme measures
        may be avoided; and

        WHEREAS, wearing a face covering is important not only to protect oneself, but also to
        avoid unknowingly harming fellow Texans, especially given that many people who go
        into public may have COVID-19 without knowing it because they have no symptoms; and
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       Governor Greg Abbott                                                           Executive Order GA-29
       July 2, 2020                                                                                   Page2




          WHEREAS, the "governor is responsible for meeting .... the dangers to the state and
          people presented by disasters" under Section 418.011 of the Texas Government Code,
          and the legislature has given the governor broad authority to fulfill that responsibility;
          and

          WHEREAS, failure to comply with any executive order issued during the COVID-19
          disaster is an offense punishable under Section 418.173 by fine;

          NOW, THEREFORE, I, Greg Abbott, Governor of Texas, by virtue of the power and
          authority vested in me by the Constitution and laws of the State of Texas, do hereby order
          the following on a statewide basis effective at 12:01 p.m. on July 3, 2020:

             Every person in Texas shall wear a face covering over the nose and mouth when
             inside a commercial entity or other building or space open to the public, or when
             in an outdoor public space, wherever it is not feasible to maintain six feet of social
             distancing from another person not in the same household; provided, however,
             that this face-covering requirement does not apply to the following:

                 I. any person younger than 10 years of age;

                 2. any person with a medical condition or disability that prevents wearing a
                    face covering;

                 3. any person while the person is consuming food or drink, or is seated at a
                    restaurant to eat or drink;

                 4. any person while the person is (a) exercising outdoors or engaging in
                    physical activity outdoors, and (b) maintaining a safe distance from other
                    people not in the same household;

                 5. any person while the person is driving alone or with passengers who are
                    part of the same household as the driver;

                 6. any person obtaining a service that requires temporary removal of the face
                    covering for security surveillance, screening, or a need for specific access
                    to the face, such as while visiting a bank or while obtaining a personal-
                    care service involving the face, but only to the extent necessary for the
                    temporary removal;

                 7. any person while the person is in a swimming pool, lake, or similar body
                    of water;

                 8. any person who is voting, assisting a voter, serving as a poll watcher, or
                    actively administering an election, but wearing a face covering is strongly
                    encouraged;

                 9. any person who is actively providing or obtaining access to religious
                    worship, but wearing a face covering is strongly encouraged;

                 10. any person while the person is giving a speech for a broadcast or to an
                     audience; or

                 11. any person in a county (a) that meets the requisite criteria pro~i~\~~~E OFFICE OF THE
                                                                                       SECRETARY OF STATE
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                                                                                         EXHIBIT 5

      Governor Greg Abbott                                                            Executive Order GA-29
      July 2, 2020                                                                                    Page 3




                    the Texas Division of Emergency Management (TDEM) regarding
                    minimal cases of COVID-19, and (b) whose county judge has
                    affirmatively opted-out of this face-covering requirement by filing with
                    TDEM the required face-covering attestation form-provided, however,
                    that wearing a face covering is highly recommended, and every county is
                    strongly encouraged to follow these face-covering standards.

            Not excepted from this face-covering requirement is any person attending a
            protest or demonstration involving more than 10 people and who is not practicing
            safe social distancing of six feet from other people not in the same household.

            TDEM shall maintain on its website a list of counties that are not subject to this
            face-covering requirement pursuant to paragraph number 11. The list can be
            found at: www.tdem.texas.gov/ga29.

            Following a verbal or written warning for a first-time violator of this face-
            covering requirement, a person's second violation shall be punishable by a fine
            not to exceed $250. Each subsequent violation shall be punishable by a fine not to
            exceed $250 per violation.

            Local law enforcement and other local officials, as appropriate, can and should
            enforce this executive order, Executive Order GA-28, and other effective
            executive orders, as well as local restrictions that are consistent with this
            executive order and other effective executive orders. But no law enforcement or
            other official may detain, arrest, or confine in jail any person for a violation of this
            executive order or for related non-violent, non-felony offenses that are predicated
            on a violation of this executive order; provided, however, that any official with
            authority to enforce this executive order may act to enforce trespassing laws and
            remove violators at the request o{a business establishment or other property
            owner.

           This executive order hereby prohibits confinement in jail as a penalty for the
           violation of any face-covering order by any jurisdiction.

            Executive Order GA-28 is hereby amended to delete from paragraph number 15
            the phrase: ", but no jurisdiction can impose a civil or criminal penalty for failure
            to wear a face covering."

           The governor may by proclamation amend this executive order or add to the list of
           people to whom this face-covering requirement does not apply.

        This executive order does not supersede Executive Orders GA-10, GA-13, GA-17, GA-
        19, GA-24, GA-25, GA-27, or GA-28 as amended. This executive order shall remain in
        effect and in full force until modified, amended, rescinded, or superseded by the
        governor.




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                                                                EXHIBIT 5

     Governor Greg Abbott                                    Executive Order GA-29
     July 2, 2020                                                              Page4




                                   Given under my hand this the 2nd
                                   day of July, 2020.




                                  Governor




        Secretary of State




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                    EXHIBIT 6
Jayton-Girard Independent School District - April 20, 2021 - Schoolboard Minutes




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                          , I
                              Document 1-3 Filed 05/11/21                       Page 58 of 88 PageID 66
                                   I                                                              EXIDBIT 6
 The board of Trustees of the Jayton-Girard Independent School District met in regular session on April 20, 2021,
 with the following members present: to wit:

                                         Amanda McGee - President
                Jeff Arnold                                              Connie Martinez
                L'Rae Lee                                                Cody Stanaland
                B.J. Baldridge

School Officials Present: Johnny Tubb- Interim Superintendent, Lyle Lackey-Principal, Laci Scogin-Business
Manager, Roger Smetak-Network Admin

Visitors Present and their comments: Layne Sheets

And the following members absent: Cole Carpenter

Constituting a quorum and among other proceedings had by said Board of Trustees, were the following:

Meeting called to order by Amanda McGee at 7:02 pm.

Principal's report included student success highlights, Big Event on April 28 th , regional and state competitions,
testing, rocket launching, and property survey.

Superintendent's report included accident report, 15-passenger van update, school housing update, main sewer line
south of school, construction update.

Board President, Amanda McGee, called for closed session for personnel discussion at 7 :06 pm. Returned to regular
session at 7 :22 pm.

Motion made by Jeff Arnold, seconded by Cody Stanaland to approve contract offering as Superintendent of Schools
for the 2021-2022, 2022-2023, 2023-2024 school years for Layne Sheets. All in favor.

Minutes from March 22, 2021 Regular Meeting, March 23, 2021 Called Meeting, and March 29, 2021 Called
Meeting were presented. Motion made by Cody Stanaland, seconded by B.J. Baldridge to approve the minutes as
presented. All in favor.

The bills and financial report were presented. Motion made by Connie Martinez, seconded by B.J . Baldridge to
approve and pay bills as presented. All in favor.

Motion made by Jeff Arnold, seconded by Cody Stanaland to approve budget amendments as presented. All in
favor.

Motion made by Cody Stanaland, seconded by B.J. Baldridge to request for County Permanent School Funds in
the amount of$367,792.31 for capital improvements. All in favor.

Motion made by Jeff Arnold, seconded by B.J. Baldridge to approve the amendment of the Child Care Center in the
amount of $40,000.00. All in_ favor.

Preliminary budget projections were presented and discussed for 2021-2022 and 2022-2023 and no action was taken.

Motion made by Connie Martinez, seconded by Jeff Arnold to approve the purchase of the DW 3U Rack NVR (I-70
4MP), (10 Bay) i9 with 120 gig Solid State OS Drive Win 10 Pro with 9:12TB storage drives which is over $10,000.
All in favor.

Motion made by B.J. Baldridge, seconded by L 'Rae Lee to approve the resolution extending depository contract for
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funds. 5-for, Amanda-Abstained.

Information giyen to board about Summer Leadership Institute. No action taken.

Board President, Amanda McGee, called for closed session for attorney consult at 8:53 pm. Returned to regular
session at 9 :31 pm.

Motion made by Cody Stanaland, seconded by Jeff Arnold to approve COVID policies and procedures as
recommended by Committee and administration. All in favor.

Called Meeting to canvas school board election votes on May 6 th at 12:00 prri. Regular board meeting date is set for
May 17, 2021 at 8:00 pm.

Motion made by Connie Martinez, seconded by B.J. Baldridge to adjourn the meeting. All in favor.

Meeting adjourned at 9:40 pm.




President                                                      Secretary




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                   EXHIBIT 7   School Photos




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